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                             EXHIBIT A
                             Proposed Final Order




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                             THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


                                                             Chapter 11
    In re:
                                                             Case No. 22-10584 (CTG)
    FIRST GUARANTY MORTGAGE
                                                             (Jointly Administered)
    CORPORATION, et al.,1
                                                             Related Docket No. 5
                         Debtors.

FINAL ORDER GRANTING MOTION OF THE DEBTORS FOR ENTRY OF INTERIM
    AND FINAL ORDERS: (I) AUTHORIZING USE OF CASH MANAGEMENT
  PROCEDURES, BANK ACCOUNTS, AND CERTAIN PAYMENT METHODS; (II)
PROHIBITING SETOFFS AND FREEZING OF BANK ACCOUNTS; (III) MODIFYING
   REQUIREMENTS OF SECTION 345(b) OF THE BANKRUPTCY CODE; AND
                     (IV) FOR RELATED RELIEF

         Upon consideration of the Motion of the Debtors for Entry of Interim and Final Orders:

(I) Authorizing Use of Cash Management Procedures, Bank Accounts, and Certain Payment

Methods; (II) Prohibiting Setoffs and Freezing of Bank Accounts; (III) Modifying Requirements of

Section 345(b) of the Bankruptcy Code; and (VI) Related Relief [Docket No. 5] (the “Motion”),

filed by the Debtors2 and upon consideration of the Declaration, and the Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b) and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware dated as of February

29, 2012; and the Court having found that this is a core proceeding pursuant to 28 U.S.C. §



1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number are:
First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location of the corporate
headquarters and the service address for First Guaranty Mortgage Corporation is 5800 Tennyson Parkway, Suite 450,
Plano, TX 75024.
2
  Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion or in the Order Granting,
On an Interim Basis, Motion of the Debtors for Entry of Interim and Final Orders:(I) Authorizing Use Of Cash
Management Procedures, Bank Accounts, And Certain Payment Methods; (II) Prohibiting Setoffs And Freezing Of
Bank Accounts; (III) Modifying Requirements Of Section 345(B) Of The Bankruptcy Code; (IV) And For Related
Relief [Docket No. 61], as applicable.

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157(b)(2), that the Debtors consent to entry of a final order under Article III of the United States

Constitution, and venue of this case and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and it appearing that proper and adequate notice of the Motion has been given

and that no other or further notice is necessary; and upon the record herein; and after due

deliberation thereon; and good and sufficient cause, it is hereby ORDERED, ADJUDGED, and

DECREED that:

        1.      The Motion is GRANTED on a final basis, as set forth herein.

        2.      The Debtors are authorized in the reasonable exercise of their business judgment,

to: (i) utilize their existing Cash Management System and to designate, maintain, and continue to

use, with the same account numbers, the Bank Accounts (as identified on an updated Bank Account

Chart attached as Exhibit 1) and Credit and Electronic Payment Methods, including Credit Cards,

on a final basis, subject to monthly caps of $45,000.00 for the Debtors’ American Express card

and $40,000.00 for the Debtors’ Visa card; and (ii) treat such Bank Accounts for all purposes as

accounts of the Debtors as debtors-in-possession and to maintain and continue using these accounts

in the same manner and with the same account numbers, styles, and document forms as those

employed prior to the Petition Date, provided that once the Debtors’ existing checks have been

used, the Debtors shall, when reordering checks, require the designation “Debtor in Possession”

and the corresponding bankruptcy case number on all checks; provided further that, with respect

to checks which the Debtors or their agents print themselves, the Debtors shall begin printing the

“Debtor in Possession” legend on such items within ten (10) days of the date of entry of this Order.

        3.      The Banks are hereby authorized to continue to service and administer all Bank

Accounts as accounts of the Debtors as debtors-in-possession without interruption and in the

ordinary course in a manner consistent with such practices prior to the Petition Date, and to receive,



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process, honor, and pay any and all checks, drafts, wires, or other electronic transfer requests

issued, payable through, or drawn on such Bank Accounts after the Petition Date by the holders or

makers thereof or other parties entitled to issue instructions with respect thereto, as the case may

be; provided, however, that any such checks, drafts, wires, or other electronic transfer requests

issued by the Debtors before the Petition Date may be honored only if specifically authorized by

an order of this Court.

        4.       Further, the Banks may rely on the representations of the Debtors with respect to

whether any check, item, or other payment order drawn or issued by the Debtors prior to the

Petition Date should be honored pursuant to this or any other order of this Court, and such Bank

shall not have any liability to any party for relying on such representations by the Debtor pursuant

to this Order.

        5.       The Debtors are authorized to make disbursements from the Bank Accounts other

than by check, including, without limitation, via wire transfer, debit card, or other forms of

electronic transfer, to the extent consistent with the Debtors’ existing cash management practices.

        6.       The Debtors are authorized to open any new Bank Accounts or close any existing

Bank Accounts as it may deem necessary and appropriate in their sole discretion; provided,

however, that the Debtors give notice within fifteen (15) days to the Office of the United States

Trustee for the District of Delaware and any statutory committees appointed in these chapter 11

cases; provided, further, however that the Debtors shall open any such new Bank Account at banks

that have executed a Uniform Depository Agreement with the Office of the United States Trustee

for the District of Delaware, or at such banks that are willing to immediately execute such an

agreement.

        7.       The Banks are authorized to charge and the Debtors are authorized to pay and



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honor, or allow to be deducted from the applicable Bank Account, both pre-petition and post-

petition service and other fees, costs, charges, and expenses to which the Banks may be entitled

under the terms of and in accordance with their contractual arrangements with the Debtors

(collectively, the “Bank Fees”).

        8.      For banks at which the Debtors hold accounts that are not party to a Uniform

Depository Agreement with the Office of the United States Trustee for the District of Delaware,

the Debtors shall either (i) transfer funds to a bank that has executed a Uniform Depository

Agreement with the Office of the United States Trustee for the District of Delaware, or (ii) use

their good-faith efforts to cause the banks to execute a Uniform Depository Agreement in a form

prescribed by the Office of the United States Trustee within thirty (30) days of the date of this

Order. The Debtors and the U.S. Trustee’s rights to seek further relief from this Court on notice

in the event that the aforementioned banks are unwilling to execute a Uniform Depository

Agreement in a form prescribed by the U.S. Trustee are fully reserved.

        9.      The Debtors are authorized, but not directed, to continue the Cash Management

System and related practices as used in the ordinary course prior to the Petition Date. This

includes, without limitation, authorization for the Debtors to disburse through any means or for

the applicable party as indicated on the Bank Account Chart to draft funds held in the Bank

Accounts for borrower-related disbursements (e.g., property taxes, hazard insurance, or similar

disbursements from borrower funds) and other disbursements for funds held as custodian of or for

another party, including loan investors who may have contractual entitlements to receipts received

by the Debtors (with such borrower-related funds and other custodial disbursements collectively

referred to herein as “Custodial Funds”). For the sake of clarity and without in any way limiting

the generality of the preceding sentence, attached hereto as Exhibit 2 is a chart of Bank Accounts



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as to which transfers of Custodial Funds are permitted in the ordinary course of the Debtors’

business and/or as may be required by agreements entered into by the Debtors prior to the Petition

Date; provided, however, that nothing in this Order shall allow the Debtors to use any amounts in

any of the Bank Accounts that either (i) constitute the collateral for the Prepetition Loan Facilities3

or the Prepetition Repo Facilities,4 including, with respect to each of the foregoing, any cash

collateral or proceeds of collateral or (ii) may be subject to any rights of setoff held by Texas

Capital Bank, Customers Bank or Flagstar Bank.

        10.      Debtor First Guaranty Mortgage Corporation (“FGMC”) is a party to that certain

Mortgage Selling and Servicing Contract, the Fannie Mae Selling Guide, the Fannie Mae Servicing

Guide and all supplemental servicing instructions or directives provided by Fannie Mae, all

applicable master agreements, recourse agreements, repurchase agreements, indemnification

agreements, loss-sharing agreements, and any other agreements between Federal National

Mortgage Association (together with any successor thereto, “Fannie Mae”) and FGMC, and all as

amended, restated or supplemented from time to time (collectively, the “Fannie Mae Lender

Contract”), which include, among other rights, the right of Fannie Mae to terminate the Fannie

Mae Lender Contract with or without cause. Notwithstanding anything to the contrary in this

Order, all funds previously or hereafter collected as servicer for Fannie Mae under the Fannie Mae



3
  “Prepetition Loan Facilities” is defined as (a) Amended and Restated Loan Agreement, dated as of July 17, 2019 (as
amended, restated, supplemented or otherwise modified from time to time), by and between FGMC and Customers
Bank and any other agreements and documents executed or delivered in connection therewith or pursuant thereto; and
(b) Mortgage Warehouse Loan and Security Agreement, dated as of June 30, 2017 (as amended, restated,
supplemented or otherwise modified from time to time) by and between FGMC and Flagstar Bank, and any other
agreements and documents executed or delivered in connection therewith or pursuant thereto.
4
  “Prepetition Repo Facilities” is defined as (a) Second Amended and Restated Master Repurchase Agreement, dated
as of October 9, 2019 (as amended, restated, supplemented or otherwise modified from time to time), by and between
FGMC and Customers Bank; (b) Mortgage Warehouse Agreement, dated as of August 14, 2020 (as amended, restated,
supplemented or otherwise modified from time to time), by and between FGMC and Texas Capital Bank, National
Association; and (c) Master Repurchase Agreement, dated as of October 25, 2012 (as amended, restated, supplemented
or otherwise modified from time to time), by and between FGMC and J.V.B Financial Group, LLC, as successor by
merger to C&Co./PrinceRidge LLC.

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Lender Contract, including all funds previously or hereafter collected by any sub-servicer

(collectively, the “Fannie Mae Payments”), are and shall remain property of Fannie Mae at all

times, including without limitation any funds held in any custodial accounts (as referenced in the

Fannie Mae Lender Contract) and the custodial accounts identified on Exhibit 2. Such funds shall

be remitted to Fannie Mae in such amounts and at such times as provided under the terms of the

Fannie Mae Lender Contract. Furthermore, any funds remitted by Fannie Mae to FGMC post-

petition (whether on account of pre-petition or post-petition transactions) shall be handled as

provided in the Fannie Mae Lender Contract, including return of any excess owed to Fannie Mae

thereunder. Fannie Mae payments held in blocked accounts may be released on such terms and

conditions as may be acceptable to Fannie Mae. For the avoidance of any doubt, the Segregated

Payments shall not include any Fannie Mae Payments and nothing in this Order shall limit, impact,

impair or affect, in any way, the obligations of FGMC (or any sub-servicer for loans currently

owned or hereafter acquired by Fannie Mae) under the Fannie Mae Lender Contract, nor shall this

Order impact Fannie Mae’s rights with respect to FGMC or any sub-servicer under the Fannie Mae

Lender Contract. Nothing herein gives the Debtors, any warehouse lenders, or any other party any

interest in the mortgages and loans (or the proceeds thereof) owned by Fannie Mae and serviced

pursuant to the Fannie Mae Lender Contract, the servicing rights associated therewith, or the

Fannie Mae Lender Contract. Fannie Mae reserves all rights under the Fannie Mae Lender

Contract. To the extent of any inconsistency between the Fannie Mae Lender Contract and this

Order, the Fannie Mae Lender Contract shall control. To the extent that Fannie Mae or Freddie

Mac is granted different or additional rights or protections hereunder, Fannie Mae or Freddie Mac

shall have the option (but not the obligation) to adopt comparable rights and protections at any

time.



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        11.     FGMC is subject to the Freddie Mac Single-Family Seller/Servicer Guide (“Freddie

Mac Guide”), the Freddie Mac Single-Family/Servicer Guide Plus Additional Provisions, certain

applicable Master Agreements (as defined in the Freddie Mac Guide), the Purchase Contracts (as

defined in the Freddie Mac Guide), Pricing Identifier Terms (as defined in the Freddie Mac Guide),

supplements, addendums, Bulletins (as defined in the Freddie Mac Guide), directives, terms of

business and any other agreements between the Debtors and Federal Home Loan Mortgage

Corporation (“Freddie Mac”), as amended, restated or supplemented from time to time

(collectively, the “Freddie Mac Agreements”), which provide Freddie Mac the right, among other

things, to: (i) terminate, at any time, all, or any portion of, Servicing (as defined by the Freddie

Mac Agreements) by FGMC, and/or to suspend or disqualify FGMC as Seller or Servicer (as

defined in the Freddie Mac Agreements), with or without cause, and (ii) sell, or have transferred,

the Freddie Mac Servicing Contract Rights (as defined in the Freddie Mac Agreements) associated

with mortgage loans that have been sold to, or subsequently acquired by, Freddie Mac (the

“Freddie Mac Loans”), with any such sale or transfer being subject to Freddie Mac and its

conservator, Federal Housing Finance Agency’s, consent.          Notwithstanding anything to the

contrary in this Order, funds previously collected by, or which shall hereafter be collected by,

FGMC as Servicer (as defined in the Freddie Mac Agreements) for Freddie Mac under the Freddie

Mac Agreements (including, without limitation, any and all funds previously, or which shall

hereafter be, collected by any sub-servicer on account of any Freddie Mac Loans) (collectively,

the “Freddie Mac Payments”) are, and shall remain, at all times, the exclusive property of Freddie

Mac (including, without limitation, any funds held in any Custodial Account (as defined in the

Freddie Mac Agreements) and the Custodial Account identified on Exhibit 2), all of which funds

shall be remitted to Freddie Mac in such amounts, and at such times, as provided for under the



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terms of the Freddie Mac Agreements. For the avoidance of any doubt, the Segregated Payments

shall not include any Freddie Mac Payments and nothing in this Order shall limit, impact, impair

or affect, in any way, the obligations of either FGMC (or any sub-servicer for Freddie Mac Loans)

under any Freddie Mac Agreement, nor shall this Order impact Freddie Mac’s rights with respect

to FGMC or any sub-servicer under the Freddie Mac Agreements. Nothing in this Order gives the

Debtors, any warehouse lenders, or any other party any interest in: (i) any Freddie Mac Loans or

the proceeds thereof; (ii) any Servicing Contract Rights (as defined in the Freddie Mac

Agreements) associated with Freddie Mac Loans; or (iii) the Freddie Mac Agreements. Freddie

Mac reserves all of its rights under the Freddie Mac Agreements, the Freddie Mac Loans, the

Freddie Mac Servicing Contract and related Freddie Mac Servicing Contract Rights.

Notwithstanding anything to the contrary in this Order, to the extent there is any inconsistency

between this Order and the Freddie Mac Agreements that relate to Freddie Mac Loans, the Freddie

Mac Agreements shall explicitly supersede and control.

        12.     As to Banks which are not party to a Uniform Depository Agreement with the

United States Trustee for the District of Delaware (a “UDA”), the requirements of § 345(b) of the

Bankruptcy Code and the U.S. Trustee Guidelines are suspended on an interim basis for a period

of forty-five (45) days from entry of this Order such that the Debtors are hereby permitted to

maintain their deposits in their non-UDA Bank Accounts in accordance with their existing

practices without prejudice to the Debtors’ ability to seek additional extensions of the forty-five

(45) day time period, and the rights and objections of the United States Trustee for the District of

Delaware are fully reserved.

        13.     Subject to § 553 of the Bankruptcy Code, the Banks are prohibited from offsetting,

affecting, freezing, or otherwise impeding the Debtors’ use of any funds deposited in the Bank



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Accounts on or before the Petition Date, on account of, or by reason of, any claim (as defined in §

101(5)) of any such Bank against the Debtors that arose before the Petition Date, absent further

order of the Court. Nothing herein shall affect any other party’s rights under section 553 of the

Bankruptcy Code, if any.

        14.     Notwithstanding paragraph 13 above, pursuant to §§ 362, 555, and 559 of the

Bankruptcy Code, Texas Capital Bank and Customers Bank are authorized to exercise their rights

and remedies to liquidate, accelerate and/or terminate their relevant repurchase agreements with

FGMC and any related documents, and to the extent not within the scope of § 362(b)(6) or (7), the

automatic stay is hereby lifted to allow Texas Capital Bank and Customers Bank to exercise such

rights and remedies and/or to set off against any amounts of the Debtors held by Texas Capital

Bank or Customers Bank that constitute proceeds of their collateral.

        15.     The Debtors shall maintain accurate and detailed records of all transfers, including

intercompany transfers, so that all transactions may be readily ascertained, traced, recorded

properly, and distinguished between prepetition and post-petition transactions.

        16.     For banks at which the Debtors hold bank accounts that are party to a UDA, within

fifteen (15) days of the date of entry of this Order the Debtors shall (a) contact each bank, (b)

provide the bank with each of the Debtors’ employer identification numbers and (c) identify each

of their bank accounts held at such banks as being held by a debtor in possession in a bankruptcy

case.

        17.     Notwithstanding the relief granted herein and any actions taken hereunder, nothing

contained in this Order, nor any payment made pursuant to this Order, shall constitute, or is

intended to constitute, an admission as to the validity or priority of any claim against the Debtors,

a waiver of the Debtors’ rights to subsequently dispute such claim, or the assumption or adoption



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of any agreement, contract, or lease under § 365 of the Bankruptcy Code.

        18.      Despite the use of a consolidated cash management system, the Debtors shall

calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on the disbursements of each Debtor,

regardless of who pays those disbursements.

        19.      Notwithstanding anything in this order to the contrary, the relief sought by the

Debtors in ¶¶ 5, 6, 9, and 13 of this Order shall not apply to any of the Bank Accounts on the chart

attached as Exhibit 35, without the prior written consent of (i) with respect to the Segregated

Warehouse Bank Accounts, the party named in the “Description of Bank Account” column in

Exhibit 3, and (ii) in the case of the other accounts listed on Exhibit 3, the account bank. In the

event of a conflict between this Order and the Final Order (I) Authorizing the Debtors to Obtain

Postpetition Operational Cash Flow Financing; (II) Authorizing the Debtors to Use Cash

Collateral; (III) Granting Liens and Providing Super-Priority Administrative Expense Status; (IV)

Granting Adequate Protection; (V) Modifying the Automatic Stay and (VI) Granting Related Relief

(the “Final Cash Flow DIP Order”), the Final Cash Flow DIP Order shall control. For the

avoidance of doubt, the Debtors shall be permitted to use the Bank Account at Texas Capital Bank

ending in the last four digits of 7572 for the purpose of payroll-related disbursements solely from

proceeds of the Cash Flow DIP Loan.

        20.      FGMC shall segregate and account for any payments that FGMC receives from any

subservicer with respect to the Prepetition Loan Facilities or the Prepetition Repo Facilities

(collectively, the “Warehouse Facilities” and each a “Warehouse Facility”) or otherwise related to


5
  Exhibit 3 includes: (i) five (5) new accounts at Signature Bank recently opened by the Debtors, which will hold
remittances to be segregated as agreed by the Debtors in the Stipulation Pursuant to 11 U.S.C. 363(c)(4) Preserving
Status Quo Regarding Customers Bank Cash Collateral [Docket No. 138] and as set forth herein, and as identified on
Exhibit 3 (such accounts, the “Segregated Warehouse Bank Accounts”) and (ii) the accounts held by Deutsche Bank
pursuant to the Amended and Restated Joint Securities Account Control Agreement dated as of August 11, 2017 (as
amended, restated, supplemented or modified from time to time, the “JSACA”) by and among Deutsche Bank National
Trust Company, Customers, Flagstar, and TCB.

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the mortgage loans backing the Warehouse Facilities and any portion of the payments that FGMC

receives from the Agencies or otherwise related to the loans backing the Warehouse Facilities

(collectively, the “Segregated Payments”) and shall deposit all Segregated Payments solely in the

Segregated Warehouse Bank Account related to the applicable Warehouse Facility. The

Segregated Payments are proceeds of the mortgage loans and related securities under the

applicable Warehouse Facility, and the Segregated Payments shall be free and clear of all liens

other than the liens on the property of which they are proceeds. FGMC shall have no right to use

the Segregated Payments. For the avoidance of doubt:

                a. The Segregated Payments shall not include payments on mortgage loans that

                    have been purchased by Freddie Mac or Fannie Mae, and nothing herein

                    prejudices Freddie Mac’s or Fannie Mae’s rights and interests;

                b. The Segregated Payments shall not include payments on mortgage loans

                    collateralized in connection with mortgage-backed securities guaranteed by

                    Ginnie Mae (the “Ginnie Securitized Mortgage Loans”). Nothing in this Order

                    shall affect or impair Ginnie Mae’s rights and interests nor shall it affect or

                    impair FGMC’s (or any subservicer with respect to the Prepetition Loan

                    Facilities or the Prepetition Repo Facilities) rights and obligations pursuant to

                    any Ginnie Mae agreement regarding Ginnie Securitized Mortgage Loans,

                    including but not limited to, obligations to deposit payments on Ginnie

                    Securitized Mortgage Loans into appropriate custodial accounts related thereto,

                    and remit all funds timely to security holders;

                c. After a mortgage loan becomes a Ginnie Securitized Mortgage Loan, FGMC

                    and any subservicer with respect to the Prepetition Loan Facilities or the



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                    Prepetition Repo Facilities shall no longer segregate payments on such loan;

                    and

                d. Nothing in this Order shall impair or affect FGMC’s (or any subservicer with

                    respect to the Prepetition Loan Facilities or the Prepetition Repo Facilities)

                    obligations pursuant to any Ginnie Mae agreement, or other agreement with any

                    agency or instrumentality of the United States, to hold in a segregated escrow

                    account all taxes, insurance (hazard and flood), mortgage insurance premium

                    (MIP) payments or to pay funding fees, guaranty fees, technology fees or other

                    payments required in connection with mortgage loans, including but not limited

                    to those insured or guaranteed by the Federal Housing Administration (FHA),

                    the U.S. Department of Veterans Affairs (VA), and the U.S. Department of

                    Agriculture’s Rural Housing Service (RHS).

        21.     Beginning Monday, July 18, at 9:00 a.m. ET, and on a weekly basis thereafter,

FGMC shall provide each Warehouse Lender with information as received from the subservicers,

regarding the expected Segregated Payments, including identifying the accounts the payments will

be deposited into, the payment amounts, the dates of payments, and the related payment history

that reconciles to the total amount of payments being remitted for tracking and potential sale

approval purposes.

        22.     To the extent applicable, the requirements set forth in Bankruptcy Rule 6003(b) are

satisfied.

        23.     Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry.

        24.     This Court shall retain jurisdiction to hear and determine all matters arising from



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the implementation of this Order.




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    Exhibit 1                                                                                                                                                                                                                                DRAFT DOCUMENT SUBJECT TO MATERIAL CHANGE


                                                                                                                                                           Draft
                                                                                        Bank Account #                                                                                                                                                              Average Bank Fees    Estimated Amount of Bank
                                Bank Statement Name                                                            Account Type             Bank Name         Account?   Drafting Party                  Description of Bank Account              Balance USD 7/20
                                                                                           (Last 4)                                                                                                                                                                    Each Month           Fees Due Pre-Petition
                                                                                                                                                           Yes/No

First Guaranty Mortgage Corporation                                                          2029           Warehouse Lending         Customers Bank         Y       Customers Bank             Customers-Warehouse Lending Account                    $ 590,206             $ 25,000                     $ 25,000

First Guaranty Mortgage Corporation                                                          2442          203K Master Account        Customers Bank             -                     -           Customers-203K-Master Account                           $ -                   $ -                          $ -

First Guaranty Mortgage Corporation PIMCO Extra Deposit                                      6097          PIMCO Extra Deposit        Customers Bank         Y       Customers Bank              Customers Bank PIMCO Extra Deposit                  $ 6,000,123                 $ -                          $ -

First Guaranty Mortgage Corporation                                                          0749           Warehouse Lending          Flagstar Bank         Y        Flagstar Bank              Flagstar-Warehouse Lending Account                   $ (125,634)                $ -                          $ -

First Guaranty Mortgage Corporation                                                          0814                 Checking             Flagstar Bank             -                     -           Flagstar-Simply Business Checking                       $ 120                 $ 40                         $ 40

First Guaranty Mortgage Corporation                                                          0864                 Pledged              Flagstar Bank         Y        Flagstar Bank            Flagstar-Pledged Acct (Business MM Acct)                $ 501,616                 $ -                          $ -
                                                                                                                                                                      Texas Capital
First Guaranty Mortgage Corporation Participation Account                                    4101               Participation        Texas Capital Bank      Y                                        TCB-Participation Account                            $ -                   $ -                          $ -
                                                                                                                                                                         Bank
                                                                                                                                                                      Texas Capital
First Guaranty Mortgage Corporation Remittance Account                                       4119                Remittance          Texas Capital Bank      Y                                         TCB-Remittance Account                              $ -                   $ -                          $ -
                                                                                                                                                                         Bank
First Guaranty Mortgage Corporation Operating                                                5230           Custodial Account*       Texas Capital Bank          -                     -                TCB-Operating Account                          $ 928,321             $ 13,000                     $ 13,000

First Guaranty Mortgage Corporation Repo Funding Account                                     7482                 Checking           Texas Capital Bank          -                     -          TCB-FGMC Repo Funding Account                            $ -                   $ -                          $ -

First Guaranty Mortgage Corporation Payroll Account                                          7572            Checking (Payroll)      Texas Capital Bank          -                     -                 TCB Payroll Account                           $ 509,665                 $ -                          $ -

First Guaranty Mortgage Corporation Escrow Holdbacks                                         4578            Custodial Account       Texas Capital Bank          -                     -               TCB - Escrow Holdback                            $ 91,927                 $ -                          $ -

First Guaranty Mortgage Corporation                                                          7855              Money Market          Texas Capital Bank          -                     -                 TCB - Money Market                                $ -                   $ -                          $ -

First Guaranty Mortgage Corporation FSA Reimbursements                                       9841            Custodial Account       Texas Capital Bank      Y         Cigna/FSA                      TCB - FSA Reimbursement                            $ 8,797                 $ -                          $ -


First Guaranty Mortgage Corporation Subserviced by Rushmore Loan Management
                                                                                             5659           Custodial Account*       Texas Capital Bank      Y           FNMA                         TCB- FGMC - FNMA AA                              $ 379,328                 $ -                          $ -
Services LLC as Agent Trustee &/or Bailee for Fannie Mae &/or payments of


First Guaranty Mortgage Corporation Subserviced by Rushmore Loan Management
                                                                                             5667           Custodial Account*       Texas Capital Bank      Y           FNMA                        TCB - FGMC - FNMA MBS                           $ 2,211,895                 $ -                          $ -
Services LLC as Agent Trustee &/or Bailee for Fannie Mae &/or payments of


First Guaranty Mortgage Corporation as Custodian &/or bailee for Federal Home Loan
                                                                                             6970           Custodial Account*       Texas Capital Bank      Y           FHLMC                        TCB - FGMC FHLMC P&I                              $ 46,018                 $ -                          $ -
Mortgage corp &/or var owners of int in mortgages &/or mortgage

                                                                                                                                                                      Tysons' Corner
First Guaranty Mortgage Corporation                                                          0336           Certificate of Deposit   Texas Capital Bank      Y                                         TCB-Certificate of deposit                       $ 55,090                 $ -                          $ -
                                                                                                                                                                       Owner LLC
First Guaranty Mortgage Corporation Certificate of Deposit                                   0342           Certificate of Deposit   Texas Capital Bank      Y           GNMA                          TCB-Certificate of deposit                       $ 77,912                 $ -                          $ -
                                                                                                                                                                      Texas Capital
First Guaranty Mortgage Corporation Reserve Account                                          4910                 Pledged            Texas Capital Bank      Y                                      TCB-Pledged/Reserve Account                      $ 1,419,274                 $ -                          $ -
                                                                                                                                                                         Bank

First Guaranty Mortgage Corporation Client's POC Trust Account                               6371           Custodial Account*          Wells Fargo              -                     -            Wells-Client POC Trust Account                     $ 112,197                $ 500                        $ 500

First Guaranty Mortgage Corporation Trustee of p&i custodial account or p&i
disbursement account for various ginnie mae mortgage backed securities pools or loan         2109           Custodial Account*        Customers Bank         Y           GNMA                      Customers Bank Ginnie Mae P&I                       $ 299,373                 $ -                          $ -
packages

First Guaranty Mortgage Corporation central p&i clearing account in trust for                                                                                             Mass             TCB-FGMC Central P&I for Mass Mutual (Custodial
                                                                                             9355           Custodial Account*       Texas Capital Bank      Y                                                                                             $ -                   $ -                          $ -
Massachusetts Mutual Life Insurance Company mortgage loan portfolios                                                                                                  Mutual/Barings                       & Advance)

First Guaranty Mortgage Corporation central p&i clearing account for various Everbank
                                                                                             0064           Custodial Account*       Texas Capital Bank      Y       Everbank/TIAA          TCB-FGMC Central P&I for EverBank (Custodial)                  $ -                   $ -                          $ -
ebo portfolios

First Guaranty Mortgage Corporation central p&i clearing account for various Everbank                                                                                                         TCB-FGMC Central P&I for Guaranty Bank
                                                                                             0072           Custodial Account*       Texas Capital Bank      Y        Guaranty Bank                                                                        $ -                   $ -                          $ -
ebo portfolios                                                                                                                                                                                           (Custodial)
First Guaranty Mortgage Corporation Escrow Account                                           3944            Custodial Account       Texas Capital Bank          -                     -           TCB-FBC T&I Escrow (Custodial)                      $ 126,117                 $ -                          $ -

First Guaranty Mortgage Corporation FHA VA USDA                                              0056            Custodial Account       Texas Capital Bank      Y       HUD, VA, USDA                    TCB-FBC MIP (Custodial)                              $ 478                 $ -                          $ -

First Guaranty Mortgage Corporation trustee of servicer's escrow account for various
                                                                                             8199            Custodial Account          Wells Fargo          Y            Ginnie                  Wells - FGMC- GNMA I II - Escrow                   $ 1,855,418                 $ -                          $ -
mortgagors, Ginnie Mae mortgage backed securities

First Guaranty Mortgage Corporation trustee of servicer's escrow account for various
                                                                                             8207            Custodial Account          Wells Fargo          Y            Ginnie               Wells - FGMC- GNMA III - Escrow 203K                     $ 34,258                 $ -                          $ -
mortgagors, Ginnie Mae mortgage backed securities

First Guaranty Mortgage Corporation Claims Clearing Account                                  4876            Custodial Account          Wells Fargo          Y           FGMC                       Wells - FGMC - Claims Clearing                     $ 352,612                 $ -                          $ -

First Guaranty Mortgage Corporation Securities Account Control Agreement                    16SC.1           Custodial Account         Deutsche Bank         Y        Deutsche Bank                       Securities Account                               $ -


First Guaranty Mortgage Corporation Securities Account Control Agreement                    16SC.2           Custodial Account         Deutsche Bank         Y        Deutsche Bank                     Cash Proceeds Account                              $ -                $ 3,000                      $ 3,000


First Guaranty Mortgage Corporation Securities Account Control Agreement                    16SC.3           Custodial Account         Deutsche Bank         Y        Deutsche Bank                       Cash Sales Account                               $ -

FGMC/ FGMC Master Trust V securities custody                                                17SC.1               Operating             Deutsche Bank             -                 -                       Inactive Account                                $ -                   $ -                          $ -
FGMC/ FGMC Master Trust V securities custody                                                17SC.2         Cash Proceeds Account       Deutsche Bank             -                 -                       Inactive Account                                $ -                   $ -                          $ -
FGMC/ FGMC Master Trust V securities custody                                                17SC.3          Cash Sales Account         Deutsche Bank             -                 -                       Inactive Account                                $ -                   $ -                          $ -

Computershare Inc aaf KCC Client Funds – Beneficiary for First Guaranty Mortgage
                                                                                             5330                Operating            Bank of America            -                 -                      Operating Account                                $ -                   $ -                          $ -
Corporation (3584)

Computershare Inc aaf KCC Client Funds – Beneficiary for First Guaranty Mortgage
                                                                                             5330              Loan Funding           Bank of America            -                 -                      Operating Account                                $ -
Corporation (3604)

First Guaranty Mortgage Corporation DIP Opearting Account                                    2571              Main Operating          Signature Bank            -                 -                      Operating Account                          $ 3,875,428                 $ -                          $ -

First Guaranty Mortgage Corporation DIP Utility Deposits                                     3462              Utility Account         Signature Bank            -                 -                    Utility Deposits Account                         $ 3,210                 $ -                          $ -
First Guaranty Mortgage Corporation DIP Borrower Escrows                                     3470            Custodial Account         Signature Bank            -                 -                       Escrow Account                                $ 3,294                 $ -                          $ -
First Guaranty Mortgage Corporation DIP Mortgage Insurance Premiums                          3489            Custodial Account         Signature Bank            -                 -             Mortgage Insurance Premium Account                         $ -                  $   -                        $   -
First Guaranty Mortgage Corporation DIP Mortgage Loan Funding Account                        3454            Custodial Account         Signature Bank            -                 -                      Funding Account                            $ 1,748,083                 $   -                        $   -
First Guaranty Mortgage Corporation DIP Client POC Trust Account                             8381            Custodial Account         Signature Bank            -                 -                         Client POC                                     $ -                  $   -                        $   -
First Guaranty Mortgage Corporation DIP Claims Clearing                                      8403            Custodial Account         Signature Bank            -                 -                       Claims Clearing                                  $ -                  $   -                        $   -
                                                                                                         Segregated Warehouse Bank
First Guaranty Mortgage Corporation DIP TCB                                                  8411                                      Signature Bank            -                 -                             TCB                                   $ 942,831                 $ -                          $ -
                                                                                                                  Accounts
                                                                                                         Segregated Warehouse Bank
First Guaranty Mortgage Corporation DIP Customers Bank                                       8438                                      Signature Bank            -                 -                          Customers                                $ 186,191                 $ -                          $ -
                                                                                                                  Accounts
                                                                                                         Segregated Warehouse Bank
First Guaranty Mortgage Corporation DIP JVB                                                  8446                                      Signature Bank            -                 -                             JBV                                 $ 1,644,707                 $ -                          $ -
                                                                                                                  Accounts
                                                                                                         Segregated Warehouse Bank
First Guaranty Mortgage Corporation DIP Flagstar                                             8454                                      Signature Bank            -                 -                            Flagstar                                $ 69,380                 $ -                          $ -
                                                                                                                  Accounts
First Guaranty Mortgage Corporation DIP FGMC FNMA                                            8489            Custodial Account         Signature Bank            -                 -                            FNMA                                       $ -                   $ -                          $ -
First Guaranty Mortgage Corporation DIP FGMC FHLMC                                           8497            Custodial Account         Signature Bank            -                 -                           FHLMC                                       $ -                   $ -                          $ -
First Guaranty Mortgage Corporation DIP FGMC GNMA                                            8500            Custodial Account         Signature Bank            -                 -                           GNMA                                        $ -                   $ -                          $ -
                                                                                                         Segregated Warehouse Bank
First Guaranty Mortgage Corporation DIP B2 FIE XI LLC Prepetition                            8519                                      Signature Bank            -                 -                  B2 FIE XI LLC Prepetition                            $ -                   $ -                          $ -
                                                                                                                  Accounts
First Guaranty Mortgage/Joint Securities                                                  FG14SC.1           Custodial Account         Deutsche Bank             -                 -                   Cash Settlement Account                             $ -                   $ -                          $ -

First Guaranty Mortgage/Joint Securities                                                  FG14SC.2           Custodial Account         Deutsche Bank             -                 -                       Custodial Account                               $ -                       -                            -
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   Exhibit 2                                                                                                                                                                               DRAFT DOCUMENT SUBJECT TO MATERIAL CHANGE


                                                                Bank Account                                              Draft                                                                                                      Estimated Amount of
                                                                                                                                                                                                                 Average Bank Fees
                   Bank Statement Name                               #           Account Type          Bank Name         Account?   Drafting Party         Description of Bank Account      Balance USD 7/20                         Bank Fees Due Pre-
                                                                                                                                                                                                                    Each Month
                                                                  (Last 4)                                                Yes/No                                                                                                           Petition

First Guaranty Mortgage Corporation Escrow Holdbacks                4578       Custodial Account    Texas Capital Bank          -                     -       TCB - Escrow Holdback                   $ 91,927               $ -                     $ -


First Guaranty Mortgage Corporation FSA Reimbursements              9841       Custodial Account    Texas Capital Bank      Y         Cigna/FSA             TCB - FSA Reimbursement                    $ 8,797               $ -                     $ -

First Guaranty Mortgage Corporation Subserviced by Rushmore
Loan Management Services LLC as Agent Trustee &/or Bailee           5659       Custodial Account*   Texas Capital Bank      Y           FNMA                 TCB- FGMC - FNMA AA                     $ 379,328               $ -                     $ -
for Fannie Mae &/or payments of

First Guaranty Mortgage Corporation Subserviced by Rushmore
Loan Management Services LLC as Agent Trustee &/or Bailee           5667       Custodial Account*   Texas Capital Bank      Y           FNMA                TCB - FGMC - FNMA MBS                  $ 2,211,895               $ -                     $ -
for Fannie Mae &/or payments of

First Guaranty Mortgage Corporation as Custodian &/or bailee
for Federal Home Loan Mortgage corp &/or var owners of int in       6970       Custodial Account*   Texas Capital Bank      Y          FHLMC                TCB - FGMC FHLMC P&I                      $ 46,018               $ -                     $ -
mortgages &/or mortgage


First Guaranty Mortgage Corporation Operating                       5230       Custodial Account*   Texas Capital Bank          -                     -       TCB-Operating Account                  $ 928,321            $ 13,000               $ 13,000


First Guaranty Mortgage Corporation Client's POC Trust
                                                                    6371       Custodial Account*      Wells Fargo              -                     -   Wells-Client POC Trust Account             $ 112,197              $ 500                   $ 500
Account


First Guaranty Mortgage Corporation Trustee of p&i custodial
account or p&i disbursement account for various ginnie mae          2109       Custodial Account*    Customers Bank         Y           GNMA              Customers Bank Ginnie Mae P&I              $ 299,373               $ -                     $ -
mortgage backed securities pools or loan packages

First Guaranty Mortgage Corporation central p&i clearing
                                                                                                                                        Mass              TCB-FGMC Central P&I for Mass
account in trust for Massachusetts Mutual Life Insurance            9355       Custodial Account*   Texas Capital Bank      Y                                                                            $ -                 $ -                     $ -
                                                                                                                                    Mutual/Barings         Mutual (Advance & Custodial)
Company mortgage loan portfolios

First Guaranty Mortgage Corporation central p&i clearing                                                                                                    TCB-FGMC Central P&I for
                                                                    0064       Custodial Account*   Texas Capital Bank      Y       Everbank/TIAA                                                        $ -                 $ -                     $ -
account for various Everbank ebo portfolios                                                                                                                   EverBank (Custodial)


First Guaranty Mortgage Corporation central p&i clearing                                                                                                    TCB-FGMC Central P&I for
                                                                    0072       Custodial Account*   Texas Capital Bank      Y        Guaranty Bank                                                       $ -                 $ -                     $ -
account for various Everbank ebo portfolios                                                                                                                  Guaranty Bank (Custodial)


First Guaranty Mortgage Corporation Escrow Account                  3944       Custodial Account    Texas Capital Bank          -                     - TCB-FBC T&I Escrow (Custodial)               $ 126,117               $ -                     $ -



First Guaranty Mortgage Corporation FHA VA USDA                     0056       Custodial Account    Texas Capital Bank      Y       HUD, VA, USDA            TCB-FBC MIP (Custodial)                    $ 478                $ -                     $ -


First Guaranty Mortgage Corporation trustee of servicer's
                                                                                                                                                            Wells - FGMC- GNMA I II -
escrow account for various mortgagors, Ginnie Mae mortgage          8199       Custodial Account       Wells Fargo          Y           Ginnie                                                     $ 1,855,418               $ -                     $ -
                                                                                                                                                                      Escrow
backed securities

First Guaranty Mortgage Corporation trustee of servicer's
                                                                                                                                                            Wells - FGMC- GNMA III -
escrow account for various mortgagors, Ginnie Mae mortgage          8207       Custodial Account       Wells Fargo          Y           Ginnie                                                        $ 34,258               $ -                     $ -
                                                                                                                                                                   Escrow 203K
backed securities


First Guaranty Mortgage Corporation Claims Clearing Account         4876       Custodial Account       Wells Fargo          Y           FGMC              Wells - FGMC - Claims Clearing             $ 352,612               $ -                     $ -


First Guaranty Mortgage Corporation DIP Borrower Escrows            3470       Custodial Account      Signature Bank            -                 -              Escrow Account                        $ 3,294               $ -                     $ -
First Guaranty Mortgage Corporation DIP Mortgage Insurance                                                                                                  Mortgage Insurance Premium
                                                                    3489       Custodial Account      Signature Bank            -                 -                                                      $ -                 $ -                     $ -
Premiums                                                                                                                                                             Account
First Guaranty Mortgage Corporation DIP Mortgage Loan
                                                                    3454       Custodial Account      Signature Bank            -                 -              Funding Account                   $ 1,748,083               $ -                     $ -
Funding Account
First Guaranty Mortgage Corporation DIP Client POC Trust
                                                                    8381       Custodial Account      Signature Bank            -                 -                Client POC                            $ -                 $ -                     $ -
Account
First Guaranty Mortgage Corporation DIP Claims Clearing             8403       Custodial Account      Signature Bank            -                 -              Claims Clearing                         $ -                 $ -                     $ -

First Guaranty Mortgage Corporation DIP FGMC FNMA                   8489       Custodial Account      Signature Bank            -                 -                  FNMA                                $ -                 $ -                     $ -

First Guaranty Mortgage Corporation DIP FGMC FHLMC                  8497       Custodial Account      Signature Bank            -                 -                  FHLMC                               $ -                 $ -                     $ -

First Guaranty Mortgage Corporation DIP FGMC GNMA                   8500       Custodial Account      Signature Bank            -                 -                  GNMA                                $ -                 $ -                     $ -


* May include some Debtor funds
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    Exhibit 3                                                                                                                                                                                               DRAFT DOCUMENT SUBJECT TO MATERIAL CHANGE


                                                                                                                                                                                                                                                                 Estimated Amount of
                                                      Bank Account #                                                 Draft Account?                                                                                                    Average Bank Fees Each
                Bank Statement Name                                       Account Type             Bank Name                            Drafting Party                 Description of Bank Account             Balance USD 7/20                                  Bank Fees Due Pre-
                                                         (Last 4)                                                       Yes/No                                                                                                                 Month
                                                                                                                                                                                                                                                                       Petition


First Guaranty Mortgage Corporation                        2029         Warehouse Lending        Customers Bank            Y            Customers Bank            Customers-Warehouse Lending Account                     $ 590,206                   $ 25,000               $ 25,000



First Guaranty Mortgage Corporation                        2442        203K Master Account       Customers Bank                   -                          -       Customers-203K-Master Account                            $ -                        $ -                    $ -


First Guaranty Mortgage Corporation PIMCO Extra
                                                           6097        PIMCO Extra Deposit       Customers Bank            Y            Customers Bank            Customers Bank PIMCO Extra Deposit                    $ 6,000,123                      $ -                    $ -
Deposit


First Guaranty Mortgage Corporation                        0749         Warehouse Lending         Flagstar Bank            Y             Flagstar Bank             Flagstar-Warehouse Lending Account                    $ (125,634)                     $ -                    $ -



First Guaranty Mortgage Corporation                        0814              Checking             Flagstar Bank                   -                          -      Flagstar-Simply Business Checking                        $ 120                        $ 40                   $ 40



First Guaranty Mortgage Corporation                        0864              Pledged              Flagstar Bank            Y             Flagstar Bank           Flagstar-Pledged Acct (Business MM Acct)                 $ 501,616                      $ -                    $ -


First Guaranty Mortgage Corporation Participation
                                                           4101            Participation        Texas Capital Bank         Y           Texas Capital Bank               TCB-Participation Account                             $ -                        $ -                    $ -
Account


First Guaranty Mortgage Corporation Remittance
                                                           4119             Remittance          Texas Capital Bank         Y           Texas Capital Bank                TCB-Remittance Account                               $ -                        $ -                    $ -
Account


First Guaranty Mortgage Corporation Repo Funding
                                                           7482              Checking           Texas Capital Bank                -                      -          TCB-FGMC Repo Funding Account                             $ -                        $ -                    $ -
Account


First Guaranty Mortgage Corporation                        7855           Money Market          Texas Capital Bank                -                      -                 TCB - Money Market                                 $ -                        $ -                    $ -


                                                                                                                                      Tysons' Corner Owner
First Guaranty Mortgage Corporation                        0336        Certificate of Deposit   Texas Capital Bank         Y                                            TCB-Certificate of deposit                         $ 55,090                      $ -                    $ -
                                                                                                                                               LLC



First Guaranty Mortgage Corporation Certificate of
                                                           0342        Certificate of Deposit   Texas Capital Bank         Y                GNMA                        TCB-Certificate of deposit                         $ 77,912                      $ -                    $ -
Deposit




First Guaranty Mortgage Corporation Reserve Account        4910              Pledged            Texas Capital Bank         Y           Texas Capital Bank             TCB-Pledged/Reserve Account                       $ 1,419,274                      $ -                    $ -



FGMC/ FGMC Master Trust V securities custody              17SC.1             Operating            Deutsche Bank                   -                                          Inactive Account                                 $ -                        $ -                    $ -



FGMC/ FGMC Master Trust V securities custody              17SC.2       Cash Proceeds Account      Deutsche Bank                   -                                          Inactive Account                                 $ -                        $ -                    $ -



FGMC/ FGMC Master Trust V securities custody              17SC.3        Cash Sales Account        Deutsche Bank                   -                                          Inactive Account                                 $ -                        $ -                    $ -

                                                                       Segregated Warehouse
First Guaranty Mortgage Corporation DIP TCB                8411                                   Signature Bank                  -                      -                        TCB                                     $ 942,831                      $ -                    $ -
                                                                          Bank Accounts
First Guaranty Mortgage Corporation DIP Customers                      Segregated Warehouse
                                                           8438                                   Signature Bank                  -                      -                      Customers                                 $ 186,191                      $ -                    $ -
Bank                                                                      Bank Accounts
                                                                       Segregated Warehouse
First Guaranty Mortgage Corporation DIP JVB                8446                                   Signature Bank                  -                      -                        JBV                                   $ 1,644,707                      $ -                    $ -
                                                                          Bank Accounts
                                                                       Segregated Warehouse
First Guaranty Mortgage Corporation DIP Flagstar           8454                                   Signature Bank                  -                      -                       Flagstar                                  $ 69,380                      $ -                    $ -
                                                                          Bank Accounts
First Guaranty Mortgage Corporation DIP B2 FIE XI                      Segregated Warehouse
                                                           8519                                   Signature Bank                  -                      -              B2 FIE XI LLC Prepetition                             $ -                        $ -                    $ -
LLC Prepetition                                                           Bank Accounts
First Guaranty Mortgage Corporation Securities
                                                          16SC.1         Custodial Account        Deutsche Bank            Y             Deutsche Bank                      Securities Account                                $ -
Account Control Agreement
First Guaranty Mortgage Corporation Securities
                                                          16SC.2         Custodial Account        Deutsche Bank            Y             Deutsche Bank                    Cash Proceeds Account                               $ -                      $ 3,000                $ 3,000
Account Control Agreement
First Guaranty Mortgage Corporation Securities
                                                          16SC.3         Custodial Account        Deutsche Bank            Y             Deutsche Bank                     Cash Sales Account                                 $ -
Account Control Agreement

First Guaranty Mortgage/Joint Securities                FG14SC.1         Custodial Account        Deutsche Bank                   -                                      Cash Settlement Account                              $ -                        $ -                    $ -

First Guaranty Mortgage/Joint Securities                FG14SC.2         Custodial Account        Deutsche Bank                   -                                         Custodial Account                                 $ -
